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                                                     U.S. Department of Justice


                                                     United States Attorney
                                                     Eastern District of New York
DCP/LHE/PTH                                          271 Cadman Plaza East
F. #2016R00505                                       Brooklyn, New York 11201

                                                     October 7, 2019

By ECF

The Honorable Brian M. Cogan
United States District Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

               Re:     United States v. David Levy, et al.
                       Criminal Docket No. 16-640 (BMC)

Dear Judge Cogan:

              The government respectfully submits this letter in response to the motion filed by
David Levy seeking to exonerate his bond and requesting return of his passport. ECF Docket
No. 802 (the “motion”). For the reasons set forth below, the government respectfully submits
that Levy’s bond should remain in place with the terms and conditions as currently set.

              On Friday, October 4, 2019, the government filed a Notice of Appeal from the
Judgment of Acquittal entered as to Levy, and the Order conditionally granting him a new trial.
ECF Docket No. 803.1 The Bail Reform Act provides that in a case in which an appeal has been
taken by the United States, a defendant shall be treated in accordance with Section 3142 of the
Act, which governs pretrial detention. 18 U.S.C. § 3143(c). Accordingly, Levy should




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               As it is required to do, the government is currently in the process of seeking
authorization from the United States Office of the Solicitor General to pursue an appeal.
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remain on pretrial release, as supervised by Pretrial Services, and his bond should not be
exonerated nor his passport returned during the pendency of the government’s appeal. .



                                                     Respectfully submitted,

                                                     RICHARD P. DONOGHUE
                                                     United States Attorney

                                             By:      /s/
                                                     David C. Pitluck
                                                     Lauren H. Elbert
                                                     Patrick T. Hein
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cc:    Clerk of the Court (BMC) (by ECF)
       Defense counsel (by ECF)




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